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                           UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION

Colleen Packard,                )
                                )           Case No. 1:09-cv-547
             Plaintiff,         )
                                )           Hon. Janet T. Neff
        v.                      )
                                )
Check & Credit Recovery, Inc.,  )
a New York corporation,         )
                                )
                     Defendant. )
______________________________)

                                      Notice of Dismissal

              Pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, Plaintiff

files this Notice of Dismissal with prejudice, with Defendant having served neither an answer nor

a motion for summary judgment.

Dated: July 20, 2009                                /s/ Phillip C. Rogers
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